Case 15-12055-BLS Doc1012 Filed 09/21/16 Page1of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 11
In re:
; Case No. 15-12055 (BLS)
AMERICAN APPAREL, INC.et al. :
(Jointly Administered)
Debtors.

 

ORDER GRANTING MYRIAM S. MENDES’ MOTION FOR RELIEF FROM THE
AUTOMATIC STAY AND/OR RELIEF FROM DISCHARGE INJUNCTION

AND NOW, upon consideration of the motion (the “Motion”) of Myriam S. Mendes
(“Ms. Mendes”) for an order granting relief from the automatic stay and plan injunction; and the
Court having reviewed the Motion and notice having been given; and the Debtors and Mendes
having agreed to resolve the Motion on the following terms; and it appearing that there is
sufficient cause therefor, it is hereby ORDERED THAT:

1, Ms. Mendes is granted relief from the automatic stay provision of 11 U.S.C. § 362
and, to the extent applicable, any injunction provisions of the First Amended Joint Plan of
Reorganization of the Debtors and Debtors in Possession, in order to proceed with the action in
the Superior Court of Norfolk, Massachusetts to the extent necessary to (i) liquidate any claim
that Ms. Mendes may have against the Debtors, and (ii) proceed against any applicable insurance
policy.

2, Nothing herein shall constitute an allowance of any claim against the Debtors or
shall prejudice the parties with respect to any such claim. The Debtors reserve their right to
object to any claim Ms. Mendes may assert in the Debtors’ bankruptcy cases and Ms. Mendes
reserves the right to file and pursue a claim against the Debtors, including a claim for any

deductible under applicable insurance coverage.

119264037_1
Case 15-12055-BLS Doc1012 Filed 09/21/16 Page 2 of 2

3. Pursuant to Bankruptcy Rule 6004(h), this Order shall be immediately effective
and enforceable upon its entry.
4, The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation and/or interpretation of this Order.

Dated: September 2\_, 2016 f ae O- 1 TL

Wilmington, DE The Honorable Brendan L(SKannon
Chief United Stafe Bankruptcy Judge

119264037_I
